









Dismissed and Memorandum Opinion filed July 28, 2005









Dismissed and Memorandum Opinion filed July 28, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00521-CV

____________

&nbsp;

GEORGE W. WEHRUNG, IV,
Appellant

&nbsp;

V.

&nbsp;

WASHINGTON COUNTY,
Appellee

&nbsp;



&nbsp;

On Appeal from the 21st District
Court

Washington County,
Texas

Trial Court Cause No.
33204

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed April 8, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On June 30, 2005, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P.
37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed July 28, 2005.

Panel consists of Justices Yates,
Anderson, and Hudson.

&nbsp;





